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                          IN T H E UNITED STATES DISTRICT C O U R T
                          F O R T H E NORTHERN DISTRICT O F T E X A S
                                       A B I L E N E DIVISION

 A L A I N C A S T I L L O and                     §
 JESSICA CASTILLO,                                 §      C I V I L A C T I O N NO.: l:15-CV-00064-P

            Plaintiffs,                                                   J U R Y DEMAND

 V.

 STATE FARM LLOYDS

            Defendant.

                                 JOINT N O T I C E O F S E T T L E M E N T

TO THE HONORABLE JUDGE OF SAID COURT:

        The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 6 0 days from today, upon which

time Plaintiff will file the appropriate dismissal documents with the Court. Accordingly, the

parties ask the action, including any upcoming deadlines, be abated.

                                                 Respectfully submitted,

                                                 /s/Clayton Hardin*
                                                 Bill L. Voss
                                                 State Bar No. 2 4 0 4 7 0 4 3
                                                 Scott G. Hunziker
                                                 State Bar No. 2 4 0 3 2 4 4 6
                                                 Clayton Hardin
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                                            And


                                            /s/ Rhonda J. Thompson
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                                            State Bar No.: 24069867
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                                            COUNSEL F O R DEFENDANT
                                            STATE FARM LLOYDS


                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 20th day of May 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiffs via electronic filing and email in
accordance with the Federal Rules of Civil Procedure:

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                                            /s/Adrienne B. Hamil
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